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 1                                                            THE HONORABLE JAMES L. ROBART

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     UNITED STATES OF AMERICA,                         )
 9                                                     )   Case No. 2:12-cv-01282-JLR
                                    Plaintiff,         )
10                                                     )   PARTIES’ JOINT STIPULATED
                    v.                                 )   MOTION TO CONVERT TEMPORARY
11                                                     )   RESTRAINING ORDER TO
     CITY OF SEATTLE,                                  )   PRELIMINARY INJUNCTION AND TO
12                                                     )   INCORPORATE FUTURE BRIEFING
                                    Defendant.         )   INTO CONSENT DECREE REVIEW
13                                                     )   PROCESS
                                                       )
14                                                     )   NOTE ON MOTION CALENDAR:
                                                       )   October 1, 2020
15

16          The City of Seattle and the United States (“Parties”) hereby jointly move to convert the

17   Court’s temporary restraining order regarding the City’s Crowd Control Weapons (“CCW”)

18   Ordinance (Dkt. 630) into a preliminary injunction in order to facilitate review under the process set

19   forth in paragraphs 177 to 181 of the Consent Decree (“Policy Review Process”). The Parties further

20   stipulate that the preliminary injunction shall expire only by Court order (either after demonstration

21

22
      PARTIES’ JOINT STIPULATED MOTION TO CONVERT                                      Peter S. Holmes
                                                                                       Seattle City Attorney
23    TEMPORARY RESTRAINING ORDER TO PRELIMINARY                                       701 Fifth Avenue, Suite 2050
      INJUNCTION AND TO INCORPORATE FUTURE BRIEFING                                    Seattle, WA 98104
                                                                                       (206) 684-8200
      INTO CONSENT DECREE REVIEW PROCESS - 1
      (12-CV-01282-JLR)
              Case 2:12-cv-01282-JLR Document 647
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                                                                           3




 1   that the Policy Review Process has taken place or has been rendered moot) or by joint motion of the

 2   Parties recommending that the preliminary injunction be terminated and approval by the Court.

 3          In light of this stipulation, the parties further request that the deadline for the Parties’

 4   response to the filings of the Accountability Partners (required by July 22, 2020 Order (Dkt. 626))

 5   be stricken and such briefing instead be incorporated into the same Policy Review Process and its

 6   related briefings. The Parties believe that briefing in advance of that time would be premature and

 7   may be rendered moot.

 8

 9   Respectfully submitted,

10
     DATED this 1st day of October, 2020.
11
             For the CITY OF SEATTLE                   For the UNITED STATES OF AMERICA
12

13           PETER S. HOLMES                           BRIAN T. MORAN
             Seattle City Attorney                     United States Attorney for the
14                                                     Western District of Washington

15           s/ Kerala T. Cowart                       s/ Christina Fogg
             Kerala T. Cowart, WSBA #53649             Christina Fogg
16           Assistant City Attorney                   Assistant United States Attorney
             Seattle City Attorney’s Office            United States Attorney’s Office
17           701 Fifth Avenue, Suite 2050              Western District of Washington
             Phone: (206) 733-9001                     700 Stewart Street, Suite 5220
18           Fax: (206) 684-8284                       Seattle, Washington 98101-1271
             Email: kerala.cowart@seattle.gov          Phone: (206) 553-7970
19                                                     Email: Christina.Fogg@usdoj.gov

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22
      PARTIES’ JOINT STIPULATED MOTION TO CONVERT                                    Peter S. Holmes
                                                                                     Seattle City Attorney
23    TEMPORARY RESTRAINING ORDER TO PRELIMINARY                                     701 Fifth Avenue, Suite 2050
      INJUNCTION AND TO INCORPORATE FUTURE BRIEFING                                  Seattle, WA 98104
                                                                                     (206) 684-8200
      INTO CONSENT DECREE REVIEW PROCESS - 2
      (12-CV-01282-JLR)
             Case
              Case2:12-cv-01282-JLR
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 1                                                            THE HONORABLE JAMES L. ROBART

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8
     UNITED STATES OF AMERICA,                        )
 9                                                    )   Case No. 2:12-cv-01282-JLR
                                   Plaintiff,         )
10                                                    )   ORDER GRANTING PARTIES’ JOINT
                   v.                                 )   STIPULATED MOTION TO CONVERT
11                                                    )   TEMPORARY RESTRAINING ORDER
     CITY OF SEATTLE,                                 )   TO PRELIMINARY INJUNCTION AND
12                                                    )   INCORPORATE FUTURE BRIEFING
                                   Defendant.         )   INTO CONSENT DECREE REVIEW
13                                                    )   PROCESS
                                                      )
14                                                    )
                                                      )
15
            Having reviewed the Parties’ Joint Stipulated Motion to Convert the Temporary Restraining
16
     Order to Preliminary Injunction and to Incorporate Future Briefing into Consent Decree Review
17
     Process, the Court GRANTS the motion and orders as follows:
18
            (1) The Temporary Restraining Order regarding the effective date of the Crowd Control
19
                Weapons Ordinance is converted to a Preliminary Injunction that will expire only by
20
                Court order (either after demonstration that the review process set forth in Paragraphs 177-
21
                181 of the Consent Decree has taken place or has been rendered moot) or by joint motion
22

23    ORDER GRANTING PARTIES’ JOINT STIPULATED MOTION
      TO CONVERT TEMPORARY RESTRAINING ORDER TO
      PRELIMINARY INJUNCTION AND INCORPORATE FUTURE
      BRIEFING INTO CONSENT DECREE REVIEW PROCESS - 1
      (12-CV-01282-JLR)
             Case
              Case2:12-cv-01282-JLR
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 1              of the Parties recommending that the preliminary injunction be terminated and approval

 2              by the Court; and

 3          (2) All deadlines set forth in the September 10, 2020 Order (Dkt. 643) are hereby stricken.

 4

 5               1st day of October 2020.
     DATED this _____

 6

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 8
                                                  A
                                                 ________________________________
                                                 Hon. James L. Robart
                                                 United States District Court Judge
     Presented by:
 9
     PETER S. HOLMES
10   Seattle City Attorney

11   s/ Kerala T. Cowart
     Kerala T. Cowart, WSBA #53649
12   Assistant City Attorney
     Seattle City Attorney’s Office
13   701 Fifth Avenue, Suite 2050
     Phone: (206) 733-9001
14   Fax: (206) 684-8284
     Email: kerala.cowart@seattle.gov
15
     BRIAN T. MORAN
16   United States Attorney for the
     Western District of Washington
17   s/ Christina Fogg
     Christina Fogg, Assistant United States Attorney
18   United States Attorney’s Office
     Western District of Washington
19   700 Stewart Street, Suite 5220
     Seattle, Washington 98101-1271
20   Phone: (206) 553-7970
     Email: Christina.Fogg@usdoj.gov
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23    ORDER GRANTING PARTIES’ JOINT STIPULATED MOTION
      TO CONVERT TEMPORARY RESTRAINING ORDER TO
      PRELIMINARY INJUNCTION AND INCORPORATE FUTURE
      BRIEFING INTO CONSENT DECREE REVIEW PROCESS - 2
      (12-CV-01282-JLR)
